

People v Frasqueri (2021 NY Slip Op 02111)





People v Frasqueri


2021 NY Slip Op 02111


Decided on April 06, 2021


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: April 06, 2021

Before: Gische, J.P., Kapnick, Oing, Moulton, JJ. 


SCI No. 2302/18 Appeal No. 13504 Case No. 2019-1964 

[*1]The People of the State of New York, Respondent,
vDante Frasqueri, Defendant-Appellant. 


Janet E. Sabel, The Legal Aid Society, New York (Ronald Zapata of counsel), for appellant.
Darcel D. Clark, District Attorney, Bronx (Beth R. Kublin of counsel), for respondent.



Judgment, Supreme Court, Bronx County (Margaret W. Martin, J. at plea; Laurence E. Busching, J. at sentencing), rendered November 28, 2018, convicting defendant of robbery in the third degree, and sentencing him to a term of one to three years, unanimously affirmed.
Defendant made a valid waiver of his right to appeal (see People v Thomas, 34 NY3d 545 [2019], cert denied __ US __, 140 S Ct 2634 [2020]; People v Bryant, 28 NY3d 1094, 1096 [2016]), which forecloses review of his excessive sentence claim and his challenge to the issuance of an order of protection (People v Gonzalez, 178 AD3d 440 [1st Dept 2019], lv denied 35 NY3d 941 [2020]). The combination of the court's oral colloquy with defendant and the detailed written waiver that he signed after consultation with counsel satisfied the requirements of a valid waiver.
Regardless of whether defendant made a valid waiver of his right to appeal, he failed to preserve his challenges to his order of protection (see People v Nieves, 2 NY3d 310, 315-317 [2004]; People v Gonzalez, 178 AD3d at 440), despite an opportunity to do so at sentencing, and we decline to review these claims in the interest of justice. As an alternative holding, we find them unavailing (see id.). We also perceive no basis for reducing the sentence.
We decline to address the additional claim raised for the first time at oral argument.
THIS CONSTITUTES THE DECISION AND ORDER OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: April 6, 2021








